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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HEIDI HOLLIS,                                        )
                                                     )
       Plaintiff,                                    )      Case No. 18-CV-7840
                                                     )
       v.                                            )      Judge Steven C. Seeger
                                                     )
SELECT REHABILITATION,                               )
                                                     )      Jury Trial Demanded
       Defendant.                                    )

                    JOINT STIPULATION TO DISMISS WITH PREJUDICE

       Plaintiff, Heidi Hollis, and Defendant, Select Rehabilitation, hereby submit this Joint

Stipulation to Dismiss with Prejudice the above-captioned action, with each party to bear its own

costs and attorneys’ fees, pursuant to Federal Rule of Civil Procedure 41(a).

       WHEREFORE, the Parties respectfully request that the Court dismiss the above

captioned matter with prejudice and without costs.


Dated: February 24, 2020                             Respectfully submitted,

 /s/ Jill Weinstein                               /s/ Diane Walker
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 Jill Weinstein                                   Kristen Wolfe Roberts
 Attorneys for Plaintiff                          Attorneys for Defendant

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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 24, 2020, a copy of the foregoing Joint Stipulation to
Dismiss with Prejudice was filed electronically. Notice of this filing will be sent to the following
parties by operation of the Court’s electronic case filing system. Parties may access this filing
through the Court’s system.

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                                                     /s/ Jill Weinstein




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